Case 1-25-45407-JMM Docl Filed Ovizo/izZ5 Entered Usicoics LL 40lol

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a : —_— 7 ae oo oe ae

United States Bankruptcy Court for the:

Earn bistrict or WOW YOvie

(State)
Case number (if known): Chapter 1

L) Check if this is an
* amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy 06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.

1. Debtor’s name reen Boidor Ss pyca Lec

Nia

2. All other names debtor used

in the last 8 years

Include any assumed names,
trade names, and doing business

as names

3. Debtor's federal Employer & 4 _ 4 { Lf

Identification Number (EIN)

of]

4. Debtor’s address Principal place of business Mailing address, if different from principal place
of business

124) Dean St

Number Street Number Street

P.O. Box

Proolyn NY W2\b

City Statd ZIP Code City State ZIP Code

Location of principal assets, if different from
principal place of business

lanaS
J

County

Number Street

City State ZIP Code

5. Debtor's website (URL)

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Debtor Green Pou \\ der S WON C2 L Lc Case. number (if known)

Name

Cl Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
CI] Partnership (excluding LLP)
C] Other. Specify:

6. Type of debtor

. . A. Check one:
7. Describe debtor's business

(3 Health Care Business (as defined in 11 U.S.C. § 101(27A))
Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

Q) Raitroad (as defined in 11 U.S.C. § 101(44))

Q) Stockbroker (as defined in 11 U.S.C. § 101(53A))

CQ) Commodity Broker (as defined in 11 U.S.C. § 101(6))

Cl Clearing Bank (as defined in 11 U.S.C. § 781(3))

CI None of the above

B. Check alf that apply:

Ot “éxempt entity (as described in 26 U.S.C. § 501)
Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
§ 80a-3)

(2) investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

C. NAICS (North American industry Classification System) 4-digit code that best describes debtor. See
ssiho .

Sib

8. Under which chapter of the Check one:
Bankruptcy Code is the “Sons,

debtor filing? Chapter 7
() Chapter 9

Adebtor who i lb C) Chapter 11. Check aff that apply.

lebtor who is a “small business : .
debtor’ must check the first sub- ( The debtor is a small business debtor as defined in 11 U.S.C. § 101 (51D), and its
box. A debtor as defined in aggregate noncontingent liquidated debts (excluding debts owed to insiders or
§ 1182(1) who elects to proceed affiliates) are less than $3,024,728. If this sub-box is selected, attach the most
under subchapter V of chapter 11 recent balance sheet, statement of operations, cash-flow statement, and federal
(whether or not the debtor is a income tax return or if any of these documents do not exist, follow the procedure in
“small business debtor’) must 11 U.S.C. § 1116(1)(B).
check the second sub-box. C1 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate

noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
less than $7,500,000, and it chooses to proceed under Subchapter V of
Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
statement of operations, cash-flow statement, and federal income tax return, or if
any of these documents do not exist, follow the procedure in 11 U.S.C.

§ 1146(1)(B).

Qa plan is being filed with this petition.

CJ Acceptances of the plan were solicited prepetition from one or more classes of
creditors, in accordance with 11 U.S.C. § 1126(b).

(3 The debtor is required to file periodic reports (for example, 10K and 10Q) with the
Securities and Exchange Commission according to § 13 or 15(d) of the Securities
Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
for Bankruptcy under Chapter 17 (Official Form 201A) with this form.

C) The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
12b-2.

C) Chapter 12

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Debtor Carean oi choy S RNC A bL C Case number (it known)

9. Were prior bankruptcy cases vo
filed by or against the debtor
within the last 8 years? Ol Yes. District When Case number
MM/ DD /YYYY

If more than 2 cases, attach a oo.
separate list. District When Case number

MM / DD /YYYY

2.

10. Are any bankruptcy cases ato

pending or being filed by a
business partner or an Cl Yes. Debtor Relationship
affiliate of the debtor? District When

List all cases. if more than 1, MM / DD /YYYY
attach a separate list. Case number, if known

11. Why is the case filed in this | Check aif that apply:

district? . oe . _ ee
Debtor has had its domicile, principal place of business, or principal.assets in this district for 180 days

immediately preceding the date of this petition or for a longer part of such 180 days than in any other
district.

(] A bankruptcy case conceming debtor's affiliate, general partner, or partnership is pending in this district.

42, Does the debtor own or have (O)Nno
possession of any real
property or personal property
that needs immediate Why does the property need immediate attention? (Check aif that apply.)
attention?

és. Answer below for each property that needs immediate attention. Attach additional sheets if needed.

CJ It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
What is the hazard?

C) it needs to be physically secured or protected from the weather.

CJ it includes perishable goods or assets that could quickly deteriorate or lose value without
attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
assets or other options).

C) Other

Where is the property?.

Number Street

City State ZIP Code

Is the-froperty insured?
No

(I Yes. insurance agency

Contact name

Phone

i Statistical and administrative information

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Debtor Garten Builder SSN Ca

LLC

Name

Case number tit known),

13. Debtor’s estimation of Chegk One:

available funds

Funds will be available for distribution to unsecured creditors.
Ql After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

1-49

14. Estimated number of

CI 1,000-5,000

C) 25,001-50,000

creditors Q] 50-99 CJ 5,001-10,000 () 50,001-100,000
Cl 100-199 (] 40,001-25,000 ( More than 100,000
CJ 200-999
C} $0-$50,000 AZT $4,000,001-810 million ( $500,000,001-$1 billion

15, Estimated assets Q $50.001-$100,000

CI $100,001-$500,000
C} $500,001-$1 million

C3 $10,000,001-$50 million
C3 $50,000,001-$100 million
C3 $100,000,001-$500 million

U) $1,000,000,001-$10 billion
C) $10,000,000,001-$50 billion
O) More than $50 billion

C} $0-$50,000
C} $50,001-$100,000

C) $120,001-$500,000
$500,001-$1 million

16. Estimated liabilities

(3 $1,000,001-$40 million

C $10,000,004-$50 million
(2 $50,000,001-$100 million
C $100,000,001-$500 million

C) $500,000,001-$1 billion

Q) $1,000,000,001-$10 billion
() $10,000,000,001-$50 billion
Q) More than $50 billion

a Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of
authorized representative of
debtor

The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
petition.

| have been authorized to file this petition on behalf of the debtor.

| have examined the information in this petition and have a reasonable belief that the information is true and
correct.

| declare under penalty of perjury that the foregoing is true and correct.

Exe 23/2023
Ana Qerina fe

{DDI
Printed name

x
Signature br authorized representative of debtor

Title FRAN Pern ber

-

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Debtor Coreen Prnildors poyoa LLC

Name

Case number (if known)

18. Signature of attorney

x Date
Signature of attomey for debtor MM /DD /YYYY
Printed name
Firm name
Number Street
City State ZIP Code
Contact phone Email address
Bar number State

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MATRIX

UMB BANK NATIONAL ASSOCIATION
11 Park PI], New York, NY 10007
